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                         Exhibit A

                    Hartford Term Sheet
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                                           Settlement Term Sheet

This term sheet (“Term Sheet”) represents the basic terms of a settlement agreement between and
among Hartford Accident and Indemnity Company, First State Insurance Company, Twin City
Fire Insurance Company and Navigators Specialty Insurance Company (collectively, “Hartford”),
Boy Scouts of America and Delaware BSA, LLC, as debtors and debtors in possession (“BSA” or
the “Debtors”), the Ad Hoc Committee of Local Councils (the “AHCLC”), the Coalition of Abused
Scouts for Justice, solely and only in its capacity as an ad hoc committee (the “Coalition”),1 and
the Future Claimants’ Representative (the “FCR” and, collectively with Hartford, the Debtors, the
AHCLC, and the Coalition, the “Parties”).2 The attorneys representing holders of Direct Abuse
Claims listed on Schedule 1 hereto, which reflects the number of holders of Abuse Claims
represented by each firm (the “State Court Counsel”) agree to support the terms of and be bound
by the Agreement (as defined below). The Parties will prepare a definitive written settlement
agreement consistent with this Term Sheet that will include additional material terms (the
“Agreement”), and will incorporate the terms of such Agreement into an amended plan of
reorganization (the “Amended Plan”), which Agreement and Amended Plan shall be consistent
with this Term Sheet and otherwise in form and substance reasonably acceptable to the Parties.
Capitalized terms not defined in this Term Sheet shall have the definitions ascribed to such terms
in the Amended Plan.

(i) Settlement Amount. In consideration of the releases and other consideration provided for
herein, Hartford shall pay in cash $787 million (the “Settlement Amount”) to the trust for Abuse
Claims to be created under the Amended Plan (the “Trust”) as provided herein. There shall be no
most-favored nation or similar provision that would reduce the Settlement Amount to be paid by
Hartford based on any settlements that BSA may enter into with other insurers, including without
limitation Century and Chubb.

(ii) Payment and Release of the Settlement Amount. Hartford shall pay $137 million (the
“Initial Payment”) of the Settlement Amount to the Trust on, or as soon as reasonably practicable
after, the date all conditions to the effectiveness of the Amended Plan have been satisfied
(including the entry of orders, in form and substance reasonably acceptable to the Parties, of the
Bankruptcy and District Courts confirming, or affirming confirmation of, the Amended Plan
(collectively, the “Confirmation Order”), which Confirmation Order shall not be subject to any
stay and shall be in full force and effect) and the Amended Plan has gone effective (the “Effective
Date”). On, or as soon as reasonably practicable after, the Effective Date, Hartford shall pay the
remaining $650 million of the Settlement Amount (the “Additional Payment”) into an escrow
account (the “Escrow Account”), to be administered by an independent escrow agent acceptable
to the Parties. The Additional Payment (and all income earned thereon minus (a) the fees of the
escrow agent, and (b) any taxes that are payable and other costs of the Escrow Account, which
amounts in (a) and (b) shall be paid from the corpus of the Escrow Account (such income (or loss)

1
  For the avoidance of doubt, no holders of Direct Abuse Claims are or shall be deemed Parties to this Term Sheet or
the Agreement.
2
  Notwithstanding anything to the contrary in this Term Sheet, the obligations and undertakings of the AHCLC in
connection with this Term Sheet or the Agreement shall be no greater than the AHCLC’s parallel obligations and
undertakings under section III of the Restructuring Support Agreement (including the “No Liability” subsection
thereof) filed at Dkt. 5466-2.
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minus such amounts, the “Net Income”)) shall remain in the Escrow Account until the
Confirmation Order shall become final and no longer subject to any further appeal or petition for
rehearing or certiorari (“Final and Non-Appealable”), on which date the Additional Payment, plus
any Net Income, shall be released from the Escrow Account to the Trust (the “Release Date”);
provided, however, that, at its election, Hartford may authorize the payment of the Additional
Payment directly to the Trust on the Effective Date or may authorize the release of the Additional
Payment (and any Net Income) from the Escrow Account to the Trust at any time thereafter before
the Confirmation Order becomes Final and Non-Appealable, in which event the date on which
Hartford authorizes the payment or release of the Additional Payment to the Trust shall be the
Release Date. The Trust will have investment discretion with respect to the Additional Payment
while it is in the Escrow Account, subject to Hartford’s reasonable approval of the investment
protocol under which the Additional Payment may be invested by the Trust; provided, however,
that the Trust will bear all risks associated with any such investment of the Additional Payment
and that no loss or failure to achieve desired investment returns on the Additional Payment while
it is in the Escrow Account shall require Hartford to increase the Settlement Amount it is paying
(or increase the amount of BSA’s contribution to the Trust); provided further, however, that the
Debtors, Reorganized BSA, the Local Councils and Chartered Organizations shall have no liability
or obligations to Hartford or the Trust, the Trust shall have no liability or obligations to Hartford,
and Hartford shall have no liability or obligations to the Trust (or any other Party), whatsoever for
any loss or failure to achieve desired investment returns on the Additional Payment while it is in
the Escrow Account.

(iii) Payment by BSA of Hartford Administrative Expense Claim. Under the Amended Plan,
and in compromise of its claims and in consideration of the releases and other consideration it is
providing, Hartford shall be granted an allowed administrative expense claim in the amount of $2
million (the “Hartford Administrative Claim”) on account of Hartford’s alleged damages under or
relating to the April 15, 2021 BSA/Hartford settlement agreement (the “Prior Hartford Settlement
Agreement”). BSA shall pay the Hartford Administrative Claim in full in cash to Hartford on, or
as soon as reasonably practicable after, the Effective Date. Fifty percent ($1 million) of the
Hartford Administrative Claim shall be treated as an Administrative Expense Claim in the
calculation of the Net Unrestricted Cash and Investments under the Amended Plan; the other fifty
percent shall reduce the Unrestricted Cash and Investments reserved for BSA upon its emergence
from bankruptcy on the Effective Date.

(iv) Termination of Prior Hartford Agreement. Upon the Effective Date, and upon payment by
BSA of the Hartford Administrative Claim, the Parties and State Court Counsel agree that the Prior
Hartford Settlement Agreement shall be deemed terminated, null, void and of no further force and
effect; provided, however, that in the event that BSA exercises its Fiduciary Out or takes another
Specified Action (as defined in Section xvii below), the Prior Hartford Settlement Agreement shall
remain in effect solely to the extent necessary to permit Hartford to assert its Additional
Administrative Claim, as set forth in Section xvii below.

(v) Sale of Hartford Policies. On the Release Date, in exchange for and upon receipt of the
Additional Settlement Amount by the Trust, the BSA Insurance Policies issued by Hartford
(the “Hartford Policies”), including those identified on Exhibit A, shall be sold by BSA and its
estate to Hartford, free and clear of all interests of the estate and any person or entity other than
the estate, pursuant to sections 363, 1123 and/or 1141 of the Bankruptcy Code, under the Amended


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Plan (the “Sale”), provided that the rights, if any, of Chartered Organizations under the Hartford
Policies shall be treated under the Amended Plan in accordance with sections 363 and 1141 of the
Bankruptcy Code and other applicable law. The excess liability policy issued to the BSA by
Navigators Specialty Insurance Company for the period of March 1, 2013 to February 28, 2014
shall be included in the Sale and shall be excluded from the definition of “Specified Insurance
Policies” in the Amended Plan. BSA and Hartford each represents and warrants that it has
conducted a reasonable, good faith search of its records and that it has located no evidence of any
BSA Insurance Policies issued by Hartford other than the policies identified on Exhibit A or any
Local Council Insurance Policies issued by Hartford other than the policies identified on Exhibit
B, and that it is not aware of any such policy, secondary evidence of any such policy, or any reason
to believe such policy exists. Hartford shall be designated in the Confirmation Order as a good-
faith purchaser of the Hartford Policies. Without limiting the foregoing, although the Parties do
not believe that the Sale would constitute a violation of the automatic stay of any Chartered
Organization that is a debtor in bankruptcy and that asserts an interest in one or more Hartford
Policies, to the extent the Bankruptcy Court (or other court with jurisdiction) determines that the
Sale would constitute such a violation, then the Parties shall seek a determination from the
Bankruptcy Court that they may proceed with the Sale or relief from such stay to effectuate the
Sale.

(vi) Release by Hartford. Upon the Release Date, and following its receipt of payment in full of
the Hartford Administrative Claim, Hartford shall release the Debtors, Reorganized BSA, Related
Non-Debtor Entities, Local Councils, other Protected Parties, Limited Protected Parties, Settling
Insurance Companies, the FCR, the Coalition and the Trust from all Causes of Action and Claims
relating to (1) Abuse Insurance Policies, (2) the Debtors’ bankruptcy proceeding, (3) the Debtors’
Amended Plan, (4) the Prior Hartford Settlement Agreement, (5) the 2010 BSA-Hartford
settlement agreement, (6) the 2011 BSA-Hartford settlement agreement, (7) (a) Abuse Claims
against the Protected Parties and (b) Post-1975 Chartered Organization Abuse Claims against the
Limited Protected Parties, and/or (8) any Claims asserted by Hartford against the Debtors or any
of the Releasing Parties, or by the Debtors or any of the Releasing Parties against Hartford, in the
Debtors’ Chapter 11 Cases; provided, however, that the foregoing release by Hartford of the
Limited Protected Parties in clause (1) of the foregoing shall apply only with respect to Abuse
Insurance Policies that are the subject of the Participating Chartered Organization Insurance
Assignment. Nothing in this release shall preclude Hartford from enforcing the terms of the
Agreement and the Amended Plan.

(vii) Release of Hartford. Upon the Release Date, the Debtors, Reorganized BSA, Related Non-
Debtor Entities, Local Councils, other Protected Parties, Limited Protected Parties, Settling
Insurance Companies, the FCR, the Coalition and the Trust (the “Releasing Parties”) shall release
Hartford from all Causes of Action and Claims relating to (1) Abuse Insurance Policies, (2) the
Debtors’ bankruptcy proceeding, (3) the Debtors’ Amended Plan, (4) the Prior Hartford Settlement
Agreement, (5) the 2010 BSA-Hartford settlement agreement, (6) the 2011 BSA-Hartford
settlement agreement, (7) (a) Abuse Claims against the Protected Parties and (b) Post-1975
Chartered Organization Abuse Claims against the Limited Protected Parties, and/or (8) any Claims
asserted by Hartford against the Debtors or any of the Releasing Parties, or by the Debtors or any
of the Releasing Parties against Hartford, in the Debtors’ Chapter 11 Cases; provided, however,
that the foregoing release by the Limited Protected Parties of Hartford in clause (1) of the foregoing
shall apply only with respect to Abuse Insurance Policies that are the subject of the Participating


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Chartered Organization Insurance Assignment. If another Settling Insurer receives broader
releases of Causes of Action and Claims under its Abuse Insurance Policies than those provided
to Hartford in the Agreement or Amended Plan, then Hartford shall receive the benefit of those
broader releases with respect to Causes of Action and Claims under Abuse Insurance Policies
issued by Hartford. Except as otherwise provided herein, the Agreement will provide that the
release of Hartford shall not affect claims against other insurance companies. Nothing in this
release shall preclude the Releasing Parties from enforcing the terms of the Agreement and the
Amended Plan.

(viii) Chartered Organizations. Under the Plan, the Debtors, the Coalition, the FCR and the
Trust shall secure an assignment to the Trust of, or otherwise resolve to the Parties’ satisfaction,
Chartered Organizations’ rights or claims to coverage under Abuse Insurance Policies issued by
Hartford. The Debtors, the Coalition and the FCR shall use their best efforts to settle with the
Chartered Organizations.

(ix) Judgment Reduction. In the event that any other insurer obtains a judicial determination or
binding arbitration award that it is entitled to obtain a sum certain from Hartford as a result of a
Cause of Action for contribution, subrogation, indemnification or other similar Cause of Action
against Hartford for Hartford’s alleged share or equitable share, or to enforce subrogation rights,
if any, of the defense and/or indemnity obligation for any Abuse Claim or for any Cause of Action
released in this Agreement, the Trust shall voluntarily reduce its judgment or Cause of Action
against, or settlement with, such other insurer(s) to the extent necessary to eliminate such
contribution, subrogation, indemnification or other similar Cause of Action against Hartford. To
ensure that such a reduction is accomplished, Hartford shall be entitled to assert this paragraph as
a defense to any action against it for any such portion of the judgment or Cause of Action and shall
be entitled to have the court or appropriate tribunal issue such orders as are necessary to effectuate
the reduction to protect Hartford from any liability for the judgment or Cause of Action.

(x) Findings and Orders. Subject to modification by the Debtors, the Coalition, and the FCR,
the Amended Plan and Confirmation Order may include each of the Findings and Orders included
in the Restructuring Support Agreement, filed 7/1/21. Hartford shall not object to said Findings
and Orders or take any action in support of any party that objects to said Findings and Orders. The
Amended Plan and the Confirmation Order shall state that the Findings and Orders are not binding
on Hartford to the extent that Hartford is a Settling Insurance Company and the transactions
contemplated herein, including the release of the Settlement Amount to the Trust, are fully
consummated. The Amended Plan and Confirmation Order shall further provide that Hartford’s
agreement herein not to object to the entry of said Findings and Orders in the Confirmation Order
does not indicate Hartford’s support for said Findings and Orders, and no party shall argue that
Hartford agreed to or acquiesced in such Findings and Orders in any proceeding.

(xi) Trust Distribution Procedures. Subject to modification by the Debtors, the Coalition, and
the FCR, the Trust Distribution Procedures may be in the form attached as Exhibit B to the
Restructuring Support Agreement filed 7/1/21, provided that Hartford shall be included as a
releasee in any form of release attached to the Trust Distribution Procedures to the same extent as
BSA, Local Council and Chartered Organizations are, such that Claims for coverage for Claims
for Abuse are not made under Abuse Insurance Policies issued by Hartford by, or as a result of
Claims of Abuse made by, holders of Abuse Claims who receive payment from the Trust. Hartford


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shall not object to the Trust Distribution Procedures but may add a statement in the Amended Plan
or the Disclosure Statement that Hartford is a Settling Insurance Company and, as a result, takes
no position on the Trust Distribution Procedures. Hartford shall not object to the selection of the
Settlement Trustee as provided in the Amended Plan and Settlement Trust Agreement. Hartford
shall not participate in or otherwise interfere with the administration of the Trust.

(xii) Objections to Disclosure Statement and Plan. Hartford shall not object to the Amended
Plan, the Disclosure Statement, the Solicitation Procedures, the Settlement Trust Agreement, or
the Trust Distribution Procedures (and shall withdraw any pending objections) so long as Hartford
is included as a Protected Party in the Amended Plan, and the Disclosure Statement and the
Amended Plan are otherwise consistent with the terms of this Term Sheet and the Agreement.

(xiii) Voting. Hartford agrees to (1) timely vote its Indirect Abuse Claim (Claim No. 8176 filed
by First State Insurance Company) and any other Claims held by it or its affiliates to accept the
Amended Plan and not change or revoke its votes (subject to Hartford’s receipt of a Bankruptcy
Court-approved Disclosure Statement for the Amended Plan) and (2) not “opt out” of the third-
party releases contained in the Amended Plan, so long as Hartford is included as a Protected Party
in the Amended Plan, and the Disclosure Statement and the Amended Plan are otherwise consistent
with the terms of this Term Sheet and the Agreement.

(xiv) Certain Correspondence. This Term Sheet resolves J. Lauria’s 8/26/21 letter to J. Ruggeri
and J. Ruggeri’s 8/27/21 response thereto.

(xv) Discovery. All Parties shall as soon as practicable withdraw any pending discovery requests
directed at Hartford and, so long as the Agreement has not been terminated, shall not seek
additional discovery from Hartford. Hartford shall as soon as practicable withdraw any pending
discovery requests directed at any holder of an Abuse Claim, representatives of such holders,
funders, vendors utilized by representatives of such holders, the Coalition (including law firms and
attorneys associated therewith), the FCR, and so long as the Agreement has not been terminated,
Hartford shall not seek or direct any additional discovery from such parties, the BSA, or the Local
Councils, or any other party in interest in the Chapter 11 Cases or any proceedings related to the
Chapter 11 Cases. Notwithstanding the foregoing, Hartford shall cooperate and comply with any
information requests from the BSA, the Coalition, and the FCR to the extent such information is
not protected from disclosure and reasonably necessary in support of the confirmation of the
Amended Plan; provided, however, that if the results of this process do not resolve and satisfy said
information requests, the BSA, the Coalition, or the FCR shall have the right to submit the dispute
to one or both of Mediators Gallagher and Carey, and the Parties agree to be bound by the
Mediator’s/Mediators’ decision regarding such dispute.

(xvi) Public Statements. The Parties and State Court Counsel shall cooperate with each other to
coordinate on timing and substance of public statements regarding settlement, including press
releases, court filings and in-court statements. Hartford shall make no statements about holders of
Abuse Claims or any representative thereof; provided, however, that Hartford may make
statements to protect its rights in the Chapter 11 Cases, including statements in response to
objections or statements by holders of Abuse Claims and their representatives concerning Hartford.




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(xvii) Fiduciary Obligations of the Debtors and the FCR. Notwithstanding anything in this
Term Sheet and Agreement to the contrary, no term or condition of this Term Sheet and Agreement
shall require BSA or the FCR to take or refrain from taking any action that it determines in good
faith would be inconsistent with its fiduciary duties under applicable law (the right to take or refrain
from taking such any action, a “Fiduciary Out”); provided, however, that BSA and the FCR each
understands that the TCC is not a party to this Term Sheet and that the TCC may object to the
Agreement and to the Amended Plan and that BSA and the FCR each nevertheless believes, as of
the date hereof, that entering into the Agreement is an appropriate exercise of its fiduciary duty.
If BSA (1) exercises a Fiduciary Out, (2) does not seek confirmation of the Amended Plan or to
have the Amended Plan become effective, or (3) does not take all reasonable actions to defend
confirmation of the Amended Plan against any appeals or other challenges (whether BSA takes
any such action before or after the Effective Date) (each of the actions or inactions referenced in
clauses (1)–(3), a “Specified Action”), Hartford may assert, and the other Parties and State Court
Counsel agree not to object to the assertion by Hartford of, an administrative expense claim, which
shall be reserved for prior to distributions to unsecured creditors, in addition to the Hartford
Administrative Claim, of $23.61 million (the “Agreed Amount,” with such claim being the
“Additional Hartford Administrative Claim”); provided, however, that if the occurrence of a
Specified Action is due to the enactment of congressional legislation prohibiting non-debtor
releases, the Parties and State Court Counsel agree that Hartford may not assert the Additional
Hartford Administrative Claim. If BSA takes a Specified Action, Hartford shall not seek any claim
other than the Additional Hartford Administrative Claim (and the Hartford Administrative Claim),
and shall not seek the Additional Hartford Administrative Claim in an amount greater than the
Agreed Amount, and the other Parties and State Court Counsel shall not object to the Additional
Hartford Administrative Claim or argue that it should be allowed in an amount less than the Agreed
Amount unless they reasonably contend that no Specified Action has occurred. Upon the Effective
Date, Hartford shall release BSA from any administrative expense claim arising out of BSA’s
failure to seek approval of the Prior Hartford Settlement other than (1) the Hartford Administrative
Claim and (2) in the event that BSA exercises a Fiduciary Out or takes another Specified Action,
the Additional Hartford Administrative Claim. Said release shall survive any Reversal (as defined
in Section xviii below) and any termination of the Agreement. BSA shall, prior to exercising a
Fiduciary Out, timely consult with the Coalition and FCR.

 (xviii) Effect of Reversal of Confirmation Order Following the Effective Date. In the event
that the Confirmation Order is reversed or vacated on appeal following the Effective Date, such
that the Release Date does not occur (a “Reversal”), the Parties and State Court Counsel agree that
Hartford shall (a) nevertheless be entitled to retain the $2 million to be paid to it in respect of the
Hartford Administrative Claim and (b) be entitled to a credit against any liability Hartford may
have under any Abuse Insurance Policies issued to BSA or any Local Council, which credit shall
be equal to the amount of the Initial Payment plus, if Hartford has authorized the payment or
release of the Additional Payment to the Trust, the amount of the Additional Payment (the
“Credit”); provided, however, that if Hartford has not authorized the payment or release of the
Additional Payment, then the Additional Payment and all Net Income accrued thereon in the
Escrow Account (or, if there is a loss as a result of investment of the Additional Payment, then the
funds remaining in the Escrow Account) shall be released from the Escrow Account to Hartford
promptly following the Reversal (or any exercise of a Fiduciary Out by BSA or the occurrence of
a Specified Action). The Parties and State Court Counsel shall cooperate in good faith to ensure
that Hartford may obtain the benefit of the Hartford Administrative Claim and the Credit. The


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provisions of this Section xviii shall survive any Reversal, any exercise of any Fiduciary Out, and
any termination of the Agreement. Nothing in this Section or elsewhere in this Term Sheet or the
Agreement shall bar any of the Parties or State Court Counsel from arguing that any appeal from
the Confirmation Order should be dismissed on grounds of statutory or equitable mootness or
otherwise.

(xix) State Court Counsel. Each State Court Counsel represents and warrants to the Parties that,
as of the date hereof, it represents the number of holders of Direct Abuse Claims who filed timely
Direct Abuse Claims in the Chapter 11 Cases that is listed next to its name on Schedule 1 hereto.




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                                         Schedule 1

                                    State Court Counsel

        FIRM                      NOTICE ADDRESS                           CLAIMS
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Rothweiler, Winkler,   (stewart@erlegal.com)
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Associates, PLLC       909 Texas St, Ste 1801
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       FIRM                     NOTICE ADDRESS                          CLAIMS
                      Houston, TX 770022

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       FIRM                   NOTICE ADDRESS                              CLAIMS
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                                       Exhibit A

            Known and Alleged BSA Insurance Policies Issued by Hartford



        Writing Company                   Policy No.                  Policy Period

Hartford Accident and Indemnity
Company                                 10 HU A43300        May 1, 1971 - May 1, 1972

Hartford Accident and Indemnity
Company                                  10 C A43315        Sept. 21, 1971 - Jan. 1, 1972

Hartford Accident and Indemnity
Company                                  10 C A43304            Jan. 1, 1972 - Jan. 1, 1974

Hartford Accident and Indemnity
Company                                  10 C A43303            Jan. 1, 1972 - Jan. 1, 1974

Hartford Accident and Indemnity
Company                                 10 HU A43302            Jan. 1, 1972 - Jan. 1, 1974

Hartford Accident and Indemnity
Company                                 10 HU A43303        May 1, 1972 - May 1, 1974

Hartford Accident and Indemnity
Company                                  10 C A43329            Jan. 1, 1974 - Jan. 1, 1975

Hartford Accident and Indemnity
Company                                  10 C A43324            Jan. 1, 1974 - Jan. 1, 1975

Hartford Accident and Indemnity
Company                                 10 HU A43331            Jan. 1, 1974 - Jan. 1, 1975

Hartford Accident and Indemnity
Company                                 10 HU A43335            May 1, 1974 - Jan. 1, 1975

Hartford Accident and Indemnity
Company                                 10 C A43342E            Jan. 1, 1975 - Jan. 1, 1976

Hartford Accident and Indemnity
Company                                 10 C A43349E            Jan. 1, 1976 - Jan. 1, 1977

Hartford Accident and Indemnity
Company                                 10 C A43359E            Jan. 1, 1977 - Jan. 1, 1978
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         Writing Company                  Policy No.                  Policy Period

Hartford Accident and Indemnity
Company                                 10 JP A43360E           Jan. 1, 1977 - Jan. 1, 1978

First State Insurance Company              908954               Jan. 1, 1978 - Jan. 1, 1979

First State Insurance Company              927616               Jan. 1, 1979 - Jan. 1, 1980

First State Insurance Company              931255               Jan. 1, 1981 - Jan. 1, 1983

First State Insurance Company              931257               Jan. 1, 1981 - Jan. 1, 1983

First State Insurance Company            EU 006921         March 1, 1988 - March 1, 1989

Twin City Fire Insurance Company         TXU 100325             Jan. 1, 1982 - Jan. 1, 1983

Navigators Specialty Insurance
Company                               CH12EXC747034IC      March 1, 2012 - March 1, 2013

Navigators Specialty Insurance
Company                               CH13EXC747034IC      March 1, 2013 - March 1, 2014




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                                     Exhibit B

        Known and Alleged Local Council Insurance Policies Issued by Hartford


                                                         Named            Alleged Insured
  Writing
                Policy Number    Policy Period         Insured, If       Local Council Per
 Company
                                                         Known                 BSA
Hartford Fire                                                           Baltimore Area
                                 Jan. 1, 1970 -
Insurance                                                               (220): Baltimore
Company         30 CBP 104757     Jan. 1, 1971       Unknown            Area (220)
                                                     Baltimore Area
Hartford Fire                                        Council Boy        Baltimore Area
                                 Jan. 1, 1971 -
Insurance                                            Scouts of          (220): Baltimore
Company         30 CBP 108939     Jan. 1, 1974       America            Area (220)
                                                     Baltimore Area
Hartford Fire                                        Council Boy        Baltimore Area
                                 Jan. 1, 1974 -
Insurance                                            Scouts of          (220): Baltimore
Company         30 CBP 115631     Jan. 1, 1977       America            Area (220)
                                                     Baltimore Area
Hartford Fire                                        Council Boy        Baltimore Area
                                 Jan. 1, 1977 -
Insurance                                            Scouts of          (220): Baltimore
Company         30 CBP 115827     Jan. 1, 1980       America            Area (220)
                                                     Put-Han-Sen
                                                     Area Council of
                                                     Boy Scouts of
                                                     America and
Hartford                                             National           Black Swamp Area
Accident and                                         Council of the     (449): Put-Han-Sen
Indemnity                       March 26, 1975 -     Boy Scouts of      Area 1930-1992
Company         45 CBP 130782   March 26, 1978       America            (449)
Hartford Fire                                                           Coastal Georgia
                                 Jan. 1, 2007 -
Insurance                                            Coastal Empire     (099): Coastal
Company         20 SBM US2073     Jan. 1, 2008       Council, Inc.      Empire -2014 (099)
Hartford Fire                                                           Coastal Georgia
                                 Jan. 1, 2008 -
Insurance                                            Coastal Empire     (099): Coastal
Company         20 SBM US2073     Jan. 1, 2009       Council, Inc.      Empire -2014 (099)
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                                                         Named             Alleged Insured
  Writing
                Policy Number    Policy Period         Insured, If        Local Council Per
 Company
                                                         Known                  BSA


Hartford
Accident and                                                             Evangeline Area
                                 Jan. 1, 1975 -
Indemnity                                                                (212): Evangeline
Company           Unknown         Jan. 1, 1975       Unknown             Area (212)
Hartford Fire                                                            Five Rivers (375):
Insurance                        Oct. 28, 1991 -     Sullivan Trail      Sullivan Trail
Company         01 UEC FN2321     Nov. 8, 1992       Conference          1947-1991 (375)
Hartford
Accident and                                                             Gateway Area
Indemnity                        Dec. 15, 1962 -                         (624): Gateway
Company            715173        Dec. 15, 1963       Unknown             Area (624)
Hartford
Accident and                                                             Gateway Area
Indemnity                        Dec. 15, 1962 -                         (624): Gateway
Company            715173        Dec. 15, 1963       Unknown             Area (624)
Hartford
Accident and                                                             Gateway Area
Indemnity                        Dec. 15, 1963 -                         (624): Gateway
Company            716126        Dec. 15, 1964       Unknown             Area (624)
Hartford
Accident and                                                             Gateway Area
Indemnity                        Dec. 15, 1964 -                         (624): Gateway
Company            717220        Dec. 15, 1965       Unknown             Area (624)
Hartford
Accident and                                                             Gateway Area
Indemnity                        Dec. 15, 1965 -                         (624): Gateway
Company           86C718423      Dec. 15, 1966       Unknown             Area (624)
Hartford
Accident and                                                             Gateway Area
Indemnity                        Dec. 15, 1966 -                         (624): Gateway
Company           86C718423      Dec. 15, 1967       Unknown             Area (624)




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                                                          Named            Alleged Insured
  Writing
                Policy Number     Policy Period         Insured, If       Local Council Per
 Company
                                                          Known                 BSA
Hartford
Accident and                                                             Gateway Area
Indemnity                         Dec. 15, 1967 -                        (624): Gateway
Company           86C718423       Dec. 15, 1968       Unknown            Area (624)
Hartford
Accident and                                                             Gateway Area
Indemnity                         Dec. 15, 1968 -                        (624): Gateway
Company           86C807701       Dec. 15, 1969       Unknown            Area (624)
Hartford
Accident and                                                             Gateway Area
Indemnity                         Dec. 15, 1969 -                        (624): Gateway
Company           86C807701       Dec. 15, 1970       Unknown            Area (624)
Hartford
Accident and                                                             Gateway Area
Indemnity                         Dec. 15, 1970 -                        (624): Gateway
Company           86C807701       Dec. 15, 1971       Unknown            Area (624)
Hartford
Accident and                                                             Golden Empire
                                  July 1, 1972 -
Indemnity                                             Golden Empire      (047): Golden
Company           54 C 990478      July 1, 1975       Council            Empire 1937- (047)
Hartford                                              Northeast Ohio
Accident and                                          Council Boy        Great Trail (433):
Indemnity                         Aug. 1, 1981 -      Scouts of          Northeast Ohio
Company          45 CBP 132079    Aug. 1, 1984        America            1929-1993 (463)
Hartford                                              Pinellas Area      Greater Tampa Bay
Accident and                                          Council, Boy       Area (089):
Indemnity                        April 26, 1974 -     Scouts of          Pinellas Area 1970-
Company          21 CBP 158051    Jan. 1, 1977        America Inc.       1978 (089)
New                                                                      Green Mountain
England                                                                  (592): Green
                                  May 2, 1957 -
Insurance                                                                Mountain 1929-
Company          SMC 70 89 26      May 2, 1958        Unknown            1965 (593)




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                                                          Named            Alleged Insured
  Writing
                Policy Number     Policy Period         Insured, If       Local Council Per
 Company
                                                          Known                 BSA
New                                                                      Green Mountain
England                                                                  (592): Green
                                  May 2, 1958 -
Insurance                                                                Mountain 1929-
Company           SMC 800871       May 2, 1959        Unknown            1965 (593)
New                                                                      Green Mountain
England                                                                  (592): Green
                                  May 28, 1957 -
Insurance                                                                Mountain 1929-
Company          SOLT 73 72 50    May 28, 1958        Unknown            1965 (593)
New                                                                      Green Mountain
England                                                                  (592): Green
                                  May 28, 1958 -
Insurance                                                                Mountain 1929-
Company          SOLT 803705      May 28, 1958        Unknown            1965 (593)
                                                      Hawk
                                                      Mountain           Hawk Mountain
Hartford Fire                                         Council Boy        (528): Hawk
Insurance                         Oct. 29, 1970 -     Scouts of          Mountain 1970-
Company          39 CBP 109170    Oct. 29, 1973       America            (528)
                                                      Hawk
Twin City                                             Mountain           Hawk Mountain
Fire                                                  Council Boy        (528): Hawk
Insurance                         Oct. 29, 1973 -     Scouts of          Mountain 1970-
Company          39 CBP 161610    Oct. 29, 1976       America            (528)
                                                      Hawk
Twin City                                             Mountain           Hawk Mountain
Fire                                                  Council Boy        (528): Hawk
Insurance                         Oct. 29, 1976 -     Scouts of          Mountain 1970-
Company          44 CBP 448087    Oct. 29, 1979       America            (528)
Hartford                                              Robert E. Lee      Heart of Virginia
Casualty                                              Council, Inc.,     (602): Robert E.
                                  June 9, 1998 -
Insurance                                             Boy Scouts of      Lee 1953-2003
Company         14 UUC CZ6576      June 9, 1999       America            (602)
Hartford                                              Robert E. Lee      Heart of Virginia
Casualty                                              Council, Inc.,     (602): Robert E.
                                  June 9, 1999 -
Insurance                                             Boy Scouts of      Lee 1953-2003
Company         14 UUC CZ6576      June 9, 2000       America            (602)



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                                                          Named            Alleged Insured
  Writing
                Policy Number     Policy Period         Insured, If       Local Council Per
 Company
                                                          Known                 BSA
Hartford                                              Robert E. Lee      Heart of Virginia
Casualty                                              Council, Inc.,     (602): Robert E.
                                  June 9, 2000 -
Insurance                                             Boy Scouts of      Lee 1953-2003
Company         14 UUC CZ6576      June 9, 2001       America            (602)
Hartford                                              Robert E. Lee      Heart of Virginia
Casualty                                              Council, Inc.,     (602): Robert E.
                                  June 9, 2001 -
Insurance                                             Boy Scouts of      Lee 1953-2003
Company         14 UUC CZ6576      June 9, 2002       America            (602)
Twin City                                             Hoosier Trails
Fire                                                  Council, Boy       Hoosier Trails
                                  April 1, 1976 -
Insurance                                             Scouts of          (145): Hoosier
Company          36 CBP 185443     April 1, 1979      America            Trails 1973- (145)
Twin City
Fire                                                                     Hoosier Trails
                                  April 1, 1973 -
Insurance                                                                (145): Hoosier
Company         736 CBP 109458     April 1, 1974      Unknown            Trails 1973- (145)
Twin City
Fire                                                                     Hoosier Trails
                                  April 1, 1974 -
Insurance                                                                (145): Hoosier
Company         736 CBP 109458     April 1, 1975      Unknown            Trails 1973- (145)
Twin City
Fire                                                                     Hoosier Trails
                                  April 1, 1975 -
Insurance                                                                (145): Hoosier
Company         736 CBP 109458     April 1, 1976      Unknown            Trails 1973- (145)
Hartford                                                                 Iroquois Trail
Accident and                                                             (376): Lewiston
                                  Jan. 1, 1975 -
Indemnity                                                                Trail 1937-1994
Company           32 C 715130      Jan. 1, 1976       Unknown            (385)
Hartford                                              Lewiston Trail     Iroquois Trail
Accident and                                          Council Inc.,      (376): Lewiston
Indemnity                        March 10, 1975 -     Boy Scouts of      Trail 1937-1994
Company          32 HU 360257     Jan. 1, 1976        America            (385)




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                                                         Named            Alleged Insured
  Writing
                Policy Number    Policy Period         Insured, If       Local Council Per
 Company
                                                         Known                 BSA
Hartford                                                                Iroquois Trail
Accident and                                                            (376): Lewiston
                                 Jan. 1, 1977 -
Indemnity                                                               Trail 1937-1994
Company          32C719701        Jan. 1, 1978       Unknown            (385)
Hartford
Accident and                                                            Laurel Highlands
                                 June 1, 1972 -
Indemnity                                                               (527): Potomac
Company         30 CBP 109015     June 1, 1973       Unknown            1938-2014 (757)
Hartford
Accident and                                                            Laurel Highlands
                                 June 1, 1973 -
Indemnity                                                               (527): Potomac
Company         30 CBP 109015     June 1, 1974       Unknown            1938-2014 (757)
Hartford
Accident and                                                            Laurel Highlands
                                 June 1, 1974 -
Indemnity                                                               (527): Potomac
Company         30 CBP 109015     June 1, 1975       Unknown            1938-2014 (757)
Hartford                                             Potomac
Accident and                                         Council Boy        Laurel Highlands
                                 June 1, 1975 -
Indemnity                                            Scouts of          (527): Potomac
Company         30 CBP 115715     June 1, 1978       America            1938-2014 (757)
Hartford Fire                                                           Longhorn (662):
                                 July 27, 1961 -
Insurance                                                               Longhorn -2001
Company           Unknown        July 27, 1962       Unknown            (582)
Hartford Fire                                                           Longhorn (662):
                                 July 27, 1962 -
Insurance                                                               Longhorn -2001
Company           Unknown        July 27, 1963       Unknown            (582)
Hartford Fire                                                           Longhorn (662):
                                 July 27, 1963 -
Insurance                                                               Longhorn -2001
Company           Unknown        July 27, 1964       Unknown            (582)
Hartford Fire                                                           Longhorn (662):
Insurance                        July 27, 1964 -                        Longhorn -2001
Company           Unknown         Jan. 1, 1965       Unknown            (582)




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                                                         Named            Alleged Insured
  Writing
                Policy Number    Policy Period         Insured, If       Local Council Per
 Company
                                                         Known                 BSA
Hartford
Accident and                                                            Mayflower (251):
                                 June 20, 2007 -
Indemnity                                                               Knox Trail 1996-
Company         34UUVIS5513      June 20, 2008       Unknown            2017 (244)
Hartford
Accident and                                                            Mayflower (251):
                                 June 20, 2008 -
Indemnity                                                               Knox Trail 1996-
Company         34UUVIS5513      June 20, 2009       Unknown            2017 (244)
Hartford
Accident and                                                            Mayflower (251):
                                 June 20, 2009 -
Indemnity                                                               Knox Trail 1996-
Company         34UUVIS5513      June 20, 2010       Unknown            2017 (244)
Hartford
Accident and                                                            Mayflower (251):
                                 June 20, 2010 -
Indemnity                                                               Knox Trail 1996-
Company         34UUVIS5513      June 20, 2011       Unknown            2017 (244)
                                                                        Northern New
Hartford Fire                                                           Jersey (333):
                                 April 5, 1999 -
Insurance                                                               Northern New
Company         13 UUN CY4185     April 5, 2000      Unknown            Jersey 1999- (333)
                                                                        Northern New
Hartford Fire                                        Northern New       Jersey (333):
                                 April 5, 2000 -
Insurance                                            Jersey Council,    Northern New
Company         13 UUN CY4185     April 5, 2001      BSA                Jersey 1999- (333)
                                                     Northwest
Hartford                                             Georgia
Accident and                                         Council of Boy     Northwest Georgia
Indemnity                        Jan. 21, 1976 -     Scouts of          (100): Northwest
Company         20 SMP 267512     Jan. 21, 1978      America            Georgia (100)
Hartford
Accident and
                                 Jan. 1, 1959 -
Indemnity                                                               Old Hickory (427):
Company           Unknown         Jan. 1, 1960       Unknown            Old Hickory (427)




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                                                        Named            Alleged Insured
  Writing
               Policy Number    Policy Period         Insured, If       Local Council Per
 Company
                                                        Known                 BSA
Hartford
Accident and
                                 Jan. 1, 1960 -
Indemnity                                                              Old Hickory (427):
Company          Unknown         Jan. 1, 1961       Unknown            Old Hickory (427)
Hartford
Accident and
                                 Jan. 1, 1961 -
Indemnity                                                              Old Hickory (427):
Company          Unknown         Jan. 1, 1962       Unknown            Old Hickory (427)
Hartford
Accident and
                                 Jan. 1, 1962 -
Indemnity                                                              Old Hickory (427):
Company          Unknown         Jan. 1, 1963       Unknown            Old Hickory (427)
Hartford
Accident and
                                 Jan. 1, 1963 -
Indemnity                                                              Old Hickory (427):
Company          Unknown         Jan. 1, 1964       Unknown            Old Hickory (427)
Hartford
Accident and
                                 Jan. 1, 1964 -
Indemnity                                                              Old Hickory (427):
Company          Unknown         Jan. 1, 1965       Unknown            Old Hickory (427)
Hartford
Accident and
                                 Jan. 1, 1965 -
Indemnity                                                              Old Hickory (427):
Company          Unknown         Jan. 1, 1966       Unknown            Old Hickory (427)
Hartford
Accident and
                                 Jan. 1, 1966 -
Indemnity                                                              Old Hickory (427):
Company          Unknown         Jan. 1, 1967       Unknown            Old Hickory (427)
Hartford
Accident and                                        Pack 61 George
Indemnity                       Sept. 20, 1979 -    Washington
Company         13 C 718232      Sept. 20, 1980     Council




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                                                       Named            Alleged Insured
  Writing
               Policy Number    Policy Period        Insured, If       Local Council Per
 Company
                                                       Known                 BSA
Hartford
Accident and                                       Pack 61 George
Indemnity                       Sept. 20, 1980 -   Washington
Company         13 C BF1880      Sept. 20, 1981    Council
Hartford
Accident and                                       Pack 61 George
Indemnity                       Sept. 20, 1981 -   Washington
Company         13 C DK2266      Sept. 20, 1982    Council
Hartford
Accident and                                       Pack 61 George
Indemnity                       Sept. 20, 1982 -   Washington
Company         13 C DK2266      Sept. 20, 1983    Council
Hartford
Accident and                                       Pack 61 George
Indemnity                       Sept. 20, 1983 -   Washington
Company         13 C DK2266      Sept. 20, 1984    Council
Hartford
Accident and                                       Pack 61 George
Indemnity                       Sept. 20, 1984 -   Washington
Company        13 UEK KC9259     Sept. 20, 1985    Council
Hartford
Accident and                                       Pack 61 George
Indemnity                       Sept. 20, 1985 -   Washington
Company        13 UEK KC9259     Sept. 20, 1986    Council
Hartford
Accident and                                       Pack 61 George
Indemnity                       Sept. 20, 1986 -   Washington
Company        13 UEK KC9259     Sept. 20, 1987    Council
Hartford
Accident and                                       Pack 61 George
Indemnity                       Sept. 20, 1987 -   Washington
Company        13 UEK KC9259     Sept. 20, 1988    Council




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                                                        Named            Alleged Insured
  Writing
                Policy Number    Policy Period        Insured, If       Local Council Per
 Company
                                                        Known                 BSA
Hartford
Accident and                                        Pack 61 George
Indemnity                        Sept. 20, 1988 -   Washington
Company         13 UEK KC9259     Sept. 20, 1989    Council
Hartford
Accident and                                        Pack 61 George
Indemnity                        Sept. 20, 1989 -   Washington
Company         13 UEK KC9259     Sept. 20, 1990    Council
Hartford
Accident and                                        Pack 61 George
Indemnity                        Sept. 20, 1990 -   Washington
Company         13 UEK KC9259     Sept. 20, 1991    Council
Hartford
Accident and                                        Pack 61 George
Indemnity                        Sept. 20, 1991 -   Washington
Company         13 UEK KC9259     Sept. 20, 1992    Council
Hartford
Accident and                                        Pack 61 George
Indemnity                        Sept. 20, 1992 -   Washington
Company         13 UEK KC9259     Sept. 20, 1993    Council
Hartford
Accident and                                        Pack 61 George
Indemnity                        Sept. 20, 1993 -   Washington
Company         13 UEK KC9259     Sept. 20, 1994    Council
Hartford Fire                                       Pack 61 George
Insurance                        Sept. 20, 1994 -   Washington
Company         13 UEK KC9259     Sept. 20, 1995    Council
Hartford Fire                                       Pack 61 George
Insurance                        Sept. 20, 1995 -   Washington
Company         13 UEK KC9259     Sept. 20, 1996    Council
Hartford Fire                                       Pack 61 George
Insurance                        Sept. 20, 1996 -   Washington
Company         13 UEK KC9259     Sept. 20, 1997    Council




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                                                        Named            Alleged Insured
  Writing
                Policy Number    Policy Period        Insured, If       Local Council Per
 Company
                                                        Known                 BSA
Hartford Fire                                       Pack 61 George
Insurance                        Sept. 20, 1997 -   Washington
Company         13 UEK KC9259     Sept. 20, 1998    Council
Hartford Fire                                       Pack 61 George
Insurance                        Sept. 20, 1998 -   Washington
Company         13 UEK KC9259     Sept. 20, 1999    Council
Hartford Fire                                       Pack 61 George
Insurance                        Sept. 20, 1999 -   Washington
Company         13 UEK KC9259     Sept. 20, 2000    Council
Hartford Fire                                       Pack 61 George
Insurance                        Sept. 20, 2000 -   Washington
Company         13 UEK KC9259     Sept. 20, 2001    Council
Hartford Fire                                       Pack 61 George
Insurance                        Sept. 20, 2001 -   Washington
Company         13 UEK KC9259     Sept. 20, 2002    Council
Hartford Fire                                       George
Insurance                        May 16, 1977 -     Washington
Company         39 SMP 110975     Jan. 1, 1980      Council Inc.
Hartford
Accident and
Indemnity                        Jan. 25, 1973 -                       Pine Tree (218):
Company          04 C 154949      Jan. 25, 1974     Unknown            Pine Tree (218)
Hartford                                            Pine Tree
Accident and                                        Council Boy
Indemnity                        Jan. 25, 1974 -    Scouts of          Pine Tree (218):
Company          04 C 157992      Jan. 25, 1975     America            Pine Tree (218)
Hartford                                            Pine Tree
Accident and                                        Council Boy
Indemnity                        Jan. 25, 1976 -    Scouts of          Pine Tree (218):
Company          04 C 161099      Jan. 25, 1977     America            Pine Tree (218)
Hartford                                            Pine Tree
Accident and                                        Council Boy
Indemnity                        Jan. 25, 1975 -    Scouts of          Pine Tree (218):
Company          04 C 161230      Jan. 25, 1976     America            Pine Tree (218)



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                                                        Named            Alleged Insured
  Writing
               Policy Number    Policy Period         Insured, If       Local Council Per
 Company
                                                        Known                 BSA
Hartford                                            Pine Tree
Accident and                                        Council Boy
Indemnity                       Jan. 25, 1977 -     Scouts of          Pine Tree (218):
Company         04 C 163132      Jan. 25, 1978      America            Pine Tree (218)
Hartford
Accident and
                                Jan. 1, 1975 -
Indemnity                                                              Rainbow (702):
Company         82 C 282090      Jan. 1, 1976       Unknown            Rainbow (702)
Hartford                                            Rainbow
Accident and                                        Council Boy
Indemnity                       Jan. 16, 1975 -     Scouts of          Rainbow (702):
Company        82 HU 580155      Jan. 16, 1976      America            Rainbow (702)
Hartford
Accident and                                                           Seneca Waterways
                               April 27, 1973 -
Indemnity                                                              (397): Finger Lakes
Company         03 C 804621     April 27, 1974      Unknown            1924-2009 (391)
Hartford                                            Finger Lakes
Accident and                                        Council, Boy       Seneca Waterways
                               April 27, 1974 -
Indemnity                                           Scouts of          (397): Finger Lakes
Company         03 C 807376     April 27, 1975      America            1924-2009 (391)
Hartford                                            Finger Lakes
Accident and                                        Council, Boy       Seneca Waterways
                               April 27, 1975 -
Indemnity                                           Scouts of          (397): Finger Lakes
Company         03 C 809631     April 27, 1976      America            1924-2009 (391)
Hartford                                            Finger Lakes
Accident and                                        Council, Boy       Seneca Waterways
                               April 27, 1976 -
Indemnity                                           Scouts of          (397): Finger Lakes
Company         03 C 811730     April 27, 1977      America            1924-2009 (391)
Hartford                                            Finger Lakes
Accident and                                        Council, Boy       Seneca Waterways
                               April 27, 1977 -
Indemnity                                           Scouts of          (397): Finger Lakes
Company         03 C 814173     April 27, 1978      America            1924-2009 (391)




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                                                          Named            Alleged Insured
  Writing
                Policy Number     Policy Period         Insured, If       Local Council Per
 Company
                                                          Known                 BSA
Hartford
Accident and                                                             Seneca Waterways
                                  Jan. 1, 1977 -
Indemnity                                                                (397): Otetiana
Company           CBP 800237       Jan. 1, 1978       Unknown            1943-2009 (397)
Hartford
Casualty
Insurance                         Feb. 16, 1973 -                        South Plains (694):
Company          46 IC 632582      Feb. 16, 1974      Unknown            South Plains (694)
Hartford
Casualty
Insurance                         Feb. 16, 1974 -                        South Plains (694):
Company          46 IC 632582      Feb. 16, 1975      Unknown            South Plains (694)
Hartford
Casualty
Insurance                         Feb. 16, 1975 -                        South Plains (694):
Company          46 IC 632582      Feb. 16, 1976      Unknown            South Plains (694)
Hartford                                              South Plains
Casualty                                              Council, Boy
Insurance                         Feb. 16, 1976 -     Scouts of          South Plains (694):
Company         46 TMP 100576      Feb. 16, 1979      America            South Plains (694)
Hartford                                              Suffolk County
Accident and                                          Council Inc.       Suffolk County
                                  June 1, 1974 -
Indemnity                                             Boy Scouts of      (404): Suffolk
Company          12 CBP 400297     June 1, 1977       America            County (404)
Hartford                                              Suffolk County
Accident and                                          Council Inc.       Suffolk County
                                  June 1, 1977 -
Indemnity                                             Boy Scouts of      (404): Suffolk
Company          12 CBP 400656     June 1, 1980       America            County (404)
                                                      Suffolk County
                                                      Council
Hartford Fire                                         Incorporated       Suffolk County
                                  June 1, 1969 -
Insurance                                             Boy Scouts of      (404): Suffolk
Company          12 CPP 500098     June 1, 1972       America            County (404)




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  Writing
               Policy Number    Policy Period         Insured, If       Local Council Per
 Company
                                                        Known                 BSA
                                                    Suffolk County
Hartford                                            Council
Accident and                                        Incorporated       Suffolk County
                                June 1, 1972 -
Indemnity                                           Boy Scouts of      (404): Suffolk
Company        12 SMP 304687     June 1, 1975       America            County (404)
                                                    Suwannee
Hartford                                            River Area         Suwannee River
Accident and                                        Council Boy        Area (664):
                                Sept. 15, 1975 -
Indemnity                                           Scouts of          Suwannee River
Company        21 SMP 118708     Jan. 1, 1978       America Inc.       Area (664)
Hartford
Accident and                                                           Three Fires (127):
                                June 1, 1985 -
Indemnity                                                              Du Page Area
Company        82 UUN PN2419     June 1, 1986       Unknown            1928-1992 (148)
Hartford                                            Dupage Area
Insurance                                           Council #148       Three Fires (127):
                                June 1, 1986 -
Company of                                          Boy Scouts of      Du Page Area
Illinois       82 UUN PN2419     June 1, 1987       America            1928-1992 (148)
Hartford
Accident and                                                           Twin Rivers (364):
                                May 1, 1972 -
Indemnity                                                              Saratoga County
Company         01 C 530923      May 1, 1973        Unknown            1924-1990 (684)
Hartford
Accident and                                                           Twin Rivers (364):
                                May 1, 1972 -
Indemnity                                                              Saratoga County
Company         01 C 531176      May 1, 1973        Unknown            1924-1990 (684)
Hartford                                            Saratoga
Accident and                                        County Council Twin Rivers (364):
                                Dec. 15, 1972 -
Indemnity                                           Boy Scouts of  Saratoga County
Company        01 HU 300166     Dec. 15, 1975       America        1924-1990 (684)




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                                                       Named            Alleged Insured
  Writing
                Policy Number    Policy Period       Insured, If       Local Council Per
 Company
                                                       Known                 BSA
                                                   Knights of
                                                   Columbus
                                                   Bldg. Assoc. &     Greater Hudson
Hartford Fire                                      Washington         Valley Council:
Insurance                        Jan. 20, 1976 -   Irving Council     Washington Irving
Company         02 SMP 111101     Jan. 20, 1979    #50                1951-1973 (388)
                                                   Knights of
                                                   Columbus
                                                   Bldg. Assoc. &     Greater Hudson
Hartford Fire                                      Washington         Valley Council:
Insurance                        Jan. 20, 1979 -   Irving Council     Washington Irving
Company         02 SMP 117538     Jan. 20, 1982    #50                1951-1973 (388)
                                                   Knights of
                                                   Columbus
Hartford                                           Bldg. Assoc. &     Greater Hudson
Casualty                                           Washington         Valley Council:
Insurance                        Jan. 20, 1982 -   Irving Council     Washington Irving
Company         02 SMP 118672     Jan. 20, 1983    #50                1951-1973 (388)
                                                   Knights of
                                                   Columbus
Hartford                                           Bldg. Assoc. &     Greater Hudson
Casualty                                           Washington         Valley Council:
Insurance                        Jan. 20, 1983 -   Irving Council     Washington Irving
Company         02 SMP 118672     Jan. 20, 1984    #50                1951-1973 (388)
Hartford                                                              Greater Hudson
Casualty                                                              Valley Council:
Insurance                        Jan. 20, 1984 -                      Washington Irving
Company         02 SMP 118672     Jan. 20, 1985    Unknown            1951-1973 (388)
                                                   Knights of
                                                   Columbus
Hartford                                           Bldg. Assoc. &     Greater Hudson
Casualty                                           Washington         Valley Council:
Insurance                        Jan. 20, 1984 -   Irving Council     Washington Irving
Company         02 SMP WC7495     Jan. 20, 1985    #50                1951-1973 (388)




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                                                       Named            Alleged Insured
  Writing
                Policy Number    Policy Period       Insured, If       Local Council Per
 Company
                                                       Known                 BSA
                                                   Knights of
                                                   Columbus
Hartford                                           Bldg. Assoc. &     Greater Hudson
Casualty                                           Washington         Valley Council:
Insurance          02 UUC        Jan. 20, 1985 -   Irving Council     Washington Irving
Company            NW2936         Jan. 20, 1986    50                 1951-1973 (388)




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